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                                                            September 25, 2023

 Christopher Wolpert                                                                                  VIA E-Filing
 Byron White U.S. Courthouse
 1823 Stout Street
 Denver, CO 80257-1823


 Re: Leachco, Inc. v. CPSC, No. 22-7060


 Dear Mr. Wolpert:

 The CPSC initially argued that SEC v. Blinder, Robinson & Co., 855 F.2d 677 (10th Cir. 1988),
 foreclosed Leachco’s challenge to removal protections for all CPSC Commissioners—
 including the Chairman. See CPSC Merits Br. 27–31. But see Leachco Reply 24–26
 (distinguishing Blinder). Now, the CPSC argues that its Chairman is removable at will,
 just like the SEC Chairman in Blinder. CPSC 9/21/2023 Ltr. (citing 25 Op. O.L.C. 171
 (2001)).

 But Blinder involved a challenge to the initiation of a civil-enforcement action and,
 therefore, this Court focused on the SEC Chairman because of his “executive”—i.e.,
 enforcement—powers. 855 F.2d at 861. These “executive” powers—when the securities
 laws (and the Consumer Product Safety Act) were adopted—were understood to be
 distinct from “quasi-legislative” (rulemaking) and “quasi-judicial” (adjudicative) powers.
 Cf. Seila Law v. CFPB, 140 S.Ct. 2183, 2198 (2020).

 Here, Leachco challenges the (entire) CPSC’s “existence” and its authority to proceed “at
 all.” Axon v. FTC, 143 S.Ct. 890, 904 (2023). And CPSC Commissioners collectively are
 vested with adjudicative and rulemaking functions implicated here. See 15 U.S.C.
 §§ 2058, 2064(f ), 2076(a), (f ); see also 16 C.F.R. §§ 1025.1–1025.72 (CPSC-adopted
 procedural rules for administrative adjudications). Therefore, even if the CPSC is
 correct that its Chairman alone is removable at will (though no court has so held), the
 issue here is the removability of all CPSC Commissioners.

 Blinder is further distinguishable: While the President may select a new SEC Chairman
 (855 F.2d at 681), an interim CPSC Chairman is elected by the other Commissioners,
 and a permanent appointment requires Senate conﬁrmation (15 U.S.C. § 2053(a), (d)).

 Finally, Collins v. Yellen does not save the CPSC. Collins held only that retrospective
 compensatory relief requires establishing harm from a removability defect. 141 S.Ct.


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 1761, 1788–89 (2021). Compare Seila Law, 140 S.Ct. at 2208 (plurality) (“If the removal
 restriction is not severable, then we must grant the relief requested, promptly rejecting
 the [administrative subpoena] outright.”). The post-Collins decision in Axon—allowing
 structural constitutional challenges in district court before administrative proceedings
 end—makes no sense if Collins precludes prospective injunctive relief.



                                                 Respectfully submitted,




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                                                            California, and Ohio
